      Case 2:19-cr-00595-CAS Document 12 Filed 09/26/19 Page 1 of 1 Page ID #:44



     1    TaTT.ARY POTASHNER(BaY No. 167060)
          F decal Pu~ic Defender                                               ~~ERk, ~.s. ~i
 .2                                                                                       ~
    E- ail:( ~~,,       ~ ~;r~.,~,c~                  ~,,) ~                        SEP 2~ sicr coRr
    Deputy le
     3      1~ederaY Public Defender                 f'^'
    321 East 2nd Street                                                   ~~NTR ~
                                                                                                2019
  4 Los Angeles, California 90012-402                                                 r
    Telephone: (213)894-2854                                                              r ~F ~tiLlF,~Rp
                                                                                                         IIA
  5 Facsimile: (213)894-0081                                                                      ~fPU;y~

  6       Ai~or~.eys for Defendant
  7
                                  UNITED STABS DISTRICT COTJIZT
  8
                               C~N'TRAI,DIS'~RICT OF CALIFORNIA
  9
                                         WESTERN DIVISION
 10'
 Il       UNI'T'ED STATES OF AMERICA,                   Case No.      ~~ ~ J                    ~~
 12                   Plainti:~
                                                        ASSERTION O~ FIFTH AND SIXTH
 13                                                     A11~NDMENT RIGHTS
1~
ZS                    Defendant.
16
1~7            I,the above defendant, hereby assert my Fifth a~.d Sixth Amendment.rights to
18       remain silent and to have counsel present at any and all of my interactions with the
19       government or others a.~ting on the government's behalf: I dfl not wish to, and wi11 not,
~Q       waive any of my constitutional rights except in the presence of cow~sel. I do not wand
21       the government or others acting on the govemmen~'s behalfto question me, or eon~act
22       me seeking waiver of any rights, w~less my counsel is present.
23
             ~~                                         ~

25       tDefenclant's signature)                    (Attorney's name printed)
26
27 ~, Date: C          ~ /(~ Time: `~(~              (Attorney's signa~ure) .
28
